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                       UNITED STATES DISTRICT COURT
                            DISTRICT OF MAINE

In the Matter of the Complaint of         )
                                          )
BOAT AARON & MELISSA, INC., as owner )
of the F/V EMMY ROSE (O.N. 909149), a 80’ )          No. 2:21-cv-0001-JAW
fishing vessel, for Exoneration from, or  )
Limitation of Liability                   )

                                      ORDER

      Following the tragic deaths at sea of four seamen, the vessel owner and the

estates of the seamen submit a stipulated record to the court for the allocation of

damage awards under the Death on the High Seas Act and the Jones Act and the

vessel owner seeks an exoneration of the vessel owner under the Limitation of

Shipowner’s Liability Act. In this order, the Court exonerates the vessel owner, fixes

an equal amount of conscious pain and suffering damages for the estates of each

seaman, determines which minor children are entitled to minor support and loss of

nurture awards (and for how long) and makes those awards, decides what claimed

expenses are properly deemed funeral expenses, and makes an equitable allocation

among damages categories in light of the limited available insurance coverage.


I.    BACKGROUND

      On November 23, 2020, F/V Emmy Rose, an 82-foot, steel-hulled fishing vessel

(the Vessel) sank in the Atlantic Ocean on the way to Gloucester, Massachusetts.

Joint Stips. for Allocation of Ins. Proceeds ¶¶ 1, 3, 7 (ECF No. 48) (Joint Stip.). All

four crew members aboard the Vessel were lost and are presumed drowned. Id. ¶¶

4, 12. The United States Coast Guard (USCG) conducted a thirty-eight-hour search
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but suspended its search on November 24, 2020. Id. ¶ 11. The USCG later issued a

Presumption of Death letter for each of the four men, identifying November 23, 2020

as the date of death. Id. ¶ 12. On May 21, 2021, the Vessel was located on the bottom

of the ocean northeast of Provincetown, Massachusetts and it has not been raised.

Id. ¶ 13.

      This civil action was commenced to allocate a settlement fund among the

representatives and survivors of the lost crew members. See In re Compl. of Uncle

Sam of ’76, Inc., 928 F. Supp. 64, 65 (D. Mass. 1996). The parties, including the owner

and operator of the Vessel, Boat Aaron & Melissa, Inc. (BAM), agree that the total

amount of available insurance proceeds is $960,000.          Notice of Amount of Ins.

Proceeds (ECF No. 50). Rather than request a testimonial hearing before the Court,

the parties agreed to present submissions about the decedents, their families, and

their pecuniary losses. See Uncle Sam, 928 F. Supp. at 66 (“The commitment of

resources to a full evidentiary hearing would have dramatically reduced the already

limited settlement fund available for distribution”).

II.    LEGAL PRINCIPLES

      A.     The Limitation of Shipowner’s Liability Act

      Under 46 U.S.C. § 30511(a), the Limitation of Shipowner’s Liability Act, the

“owner of a vessel may bring a civil action in a district court of the United States for

limitation of liability[.]” 46 U.S.C. § 30511(a); see FED. R. CIV. P. F (limitation of

liability). Pursuant to 46 U.S.C. § 30505(a), the “liability of the owner of a vessel for

any claim . . . shall not exceed the value of the vessel and pending freight.” 46 U.S.C.



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§ 30505(a). However, claims under subsection (a) of § 30505 “are those arising from

. . . any loss, damage or injury . . . done, occasioned, or incurred, without the privity

or knowledge of the owner.” 46 U.S.C. § 30505(b); see In re Parham, 336 F. Supp.

748, 751 (E.D. Ark. 1971). Here, in its Complaint, BAM alleged that “[a]t all material

times prior to its casualty, the Vessel, its appurtenances and crew were seaworthy,

tight, staunch, strong and fit” and that “the Vessel and its appurtenances were

operated and utilized in a seaworthy fashion.” Compl. ¶¶ 10, 15 (ECF No. 1).

      B.     The Claim for Exoneration or Limitation

      On July 7, 2021, the parties to this action proposed a procedural order in which

they agreed that the Court should enter a Consent Judgment “capping Plaintiff, its

officers, directors, employees, Bartley McNeel, Newbold Rick Varian, III, and agents

liability to the value of the Plaintiff’s protection and indemnity insurance policy limits

less any erosion.” Joint Suppl. to Proposed Procedural Order at 1 (ECF No. 36). The

proposed procedural order requested that the Court should “allocate the remaining

value of the Plaintiff’s protection and indemnity insurance policy limits to the

Claimants.” Id. On July 12, 2021, the Court approved the proposed procedural order.

Procedural Order (ECF No. 37). On October 8, 2021, the parties filed a set of joint

stipulations containing the agreed-upon language for release of BAM, its officers,

directors, employees, and agents.      Joint Stip. ¶¶ 21-22.     Based on the parties’

agreements, the allegations in the Complaint, and the Court’s approval of the

proposed procedural order, the Court concludes that the Plaintiff sustained its claim

for exoneration or limitation of liability. Compare In re Cape Fear, 183 F. Supp. 2d



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228, 282 (D. Mass. 2001) (finding the owner of the vessel failed to sustain its claim

following a trial on its petition for exoneration from or limitation of liability).

       C.     Admiralty Jurisprudence

       “A central tenet of admiralty jurisprudence is that seamen are wards of

admiralty.” Uncle Sam, 928 F. Supp. at 66 (citing Robertson v. Baldwin, 165 U.S.

275 (1895)). “The concerns of admiralty for protection of its wards extends also to

protecting the legal rights of a seaman’s survivors and dependents when the seaman

is lost at sea.” Id. “Thus, a district court sitting in admiralty has discretion at least,

if not an obligation, to take reasonable steps to ensure that the survivors and

dependents of a seaman lost at sea receive a fair share of limited settlement funds

available to provide support for many claimants.” Id. “Under both the Jones Act and

the Death on the High Seas Act (DOHSA), recoverable damages are limited to (1) an

award for the conscious pain and suffering of the decedent before his death, and

actual pecuniary loss of the survivors as a result of his death.” Id. at 65 (citing Miles

v. Apex Marine Corp., 498 U.S. 19 (1990)) (emphasis in original).

       Each claimant demands an award for the conscious pain and suffering of the

decedent before his death. Written Submission of Jeffrey Matthews, Jr., as Personal

Representative of the Estate of Jeffrey Matthews, Sr., deceased, Claimant, Pertaining

to Allocation of the Ct.’s Consent J. at 4-7 (ECF No. 49) (Matthews Mem.); Consent J.

Mem. on Damages of Pl. Ann Preble, as the Representative of the Estate of Robert

Blethen, Jr. at 4-5 (ECF No. 52) (Blethen Mem.); Pl.’s, Ashley Gross as the

Representative of the Estate of Michael J. Porper, Jr., Consent J. Hr’g Mem. at 10-11



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(ECF No. 55) (Porper Mem.); Claimant Jennifer Ward and Matthew Ward’s Written

Submission Regarding Allocation of Ins. Proceeds at 4 (ECF No. 57) (Ward Mem.).

Mr. Matthews and Mr. Ward filed replies. Rely Br. of the Estate of Jeffrey Matthews,

Sr. (ECF No. 59) (Matthews Reply); Reply Br. by Claimant Jennifer Ward and

Matthew Ward (ECF No. 60) (Ward Reply).

        DOHSA allows for recovery of pecuniary losses only. 46 U.S.C. § 30303 (“The

recovery in an action under this chapter shall be a fair compensation for the

pecuniary loss sustained by the individuals for whose benefit the action is brought”).

However, as the decedents were seamen, their Estates are also entitled to recovery

under the Jones Act. 46 U.S.C. § 30104. The Jones Act “does not apply a pecuniary

loss restriction to the injuries of a decedent himself. On the contrary, a decedent’s

beneficiaries are able to recover damages for any type of injury or loss which the

decedent sustained during the time that he was conscious prior to his death.” Cook

v. Ross Island Sand & Gravel Co., 626 F.2d 746, 749 (9th Cir. 1980); see McAleer v.

Smith, 791 F. Supp. 923, 926-29 (D.R.I. 1992). 1

        Pecuniary loss under DOHSA includes “the monetary value of services the

decedent provided and would have continued to provide but for his wrongful death.”

Sea-Land Servs., Inc. v. Gaudet, 414 U.S. 573, 585 (1974). “Such services include, for




1       In 1990, the First Circuit held that “there is a federal maritime survival action, created by
decisional law, for pain and suffering prior to death.” Barbe v. Drummond, 507 F.2d 794, 799 (1st Cir.
1974). Whether there is such a federal maritime action was discussed but not resolved in Miles. Miles,
498 U.S. at 33-34. However, in Dooley v. Korean Air Lines Co., 524 U.S. 116 (1998), the United States
Supreme Court ruled that in enacting the DOHSA, “Congress provided the exclusive recovery for
deaths that occur on the high seas.” Id. at 123; see Santos v. Am. Cruise Ferries, Inc., 100 F. Supp. 3d
96, 107 (D.P.R. 2015).

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example, the nurture, training, education, and guidance that a child would have

received had not the parent been wrongfully killed.” Id.

       Thus, all told, pecuniary loss under DOHSA includes the “loss of support, loss

of services, funeral expenses, and loss of nurture and guidance to the decedent’s

children.” In re Adventure Bound Sports, 858 F. Supp. 1192, 1197 (S.D. Ga. 1994).

Here, three claimants have made claims for loss of support and loss of nurture and

guidance for minor children, and one claimant for funeral expenses. Matthews Mem.

at 3 (“Mr. Matthews had three adult children but no minor children”); Blethen Mem.

at 3-4; Porper Mem. at 7-10 (Mr. Porper’s “family is entitled to recover for his funeral

expenses at approximately $10,000”); Ward Mem. at 4-9.

       Although each parent had a support obligation for his minor children, one

question raised by the parties is how long the support obligation lasts. The resolution

of this question involves both Maine and Massachusetts law. All but one of the

decedents’ minor children lived in Maine; the one exception lived in Massachusetts.

Blethen Mem. at 1-2; Porper Mem. at 1; Ward Mem. at 8-9. Under Maine law, a

parent’s support obligation typically ends when the child attains eighteen years of

age; however, if the child is still in secondary school, a support order “remains in force

until the child graduates, withdraws or is expelled from secondary school or attains

19 years of age, whichever occurs first.” 19-A M.R.S. § 1653(12)(A) 2; see Melanson v.

Belyea, 1997 ME 150, 698 A.2d 492. Massachusetts law is similar but slightly more

complicated and liberal. See LaBrecque v. Parsons, 74 Mass. App. Ct. 766, 910 N.E.2d


2      Maine law also provides that the parental support obligation terminates when the minor
marries or becomes a member of the armed services. 19-A M.R.S. § 1653(12)(B)-(C).

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947 (Mass. App. Ct. 2009). A Massachusetts court may award support for a child who

is eighteen or older but not yet twenty-one if the child “is domiciled in the home of a

parent, and is principally dependent upon said parent for maintenance.” MASS. GEN.

LAWS ch. 208, § 28. A Massachusetts court is also empowered to order child support

for a child who is twenty-one or older but not yet twenty-three, if the child “is

domiciled in the home of a parent, and is principally dependent upon said parent for

maintenance due to the enrollment of such child in an educational program, excluding

educational costs beyond an undergraduate degree.” Id.

III.    THE CLAIMS OF THE SEAMEN AND SURVIVORS

       A.      Generally Applicable Facts

       The record reveals facts generally applicable to each seaman aboard the F/V

Emmy Rose and the circumstances of the sinking. Aboard the F/V Emmy Rose at the

time of its sinking were Captain Robert Blethen and crewmen Jeff Matthews, Sr.,

Michael Porper, and Ethan Ward. 3 Joint Stip. ¶ 4. The F/V Emmy Rose was an 82-

foot ground fishing vessel home ported in Portland, Maine. Id. ¶¶ 1-3. The F/V Emmy

Rose departed Portland on a fishing trip on November 18, 2020. Id. ¶ 6. During the

evening hours of November 22, 2020, the crew of the Vessel communicated with

various individuals on shore that the Vessel was headed to Gloucester,

Massachusetts to unload its catch.              Id. ¶ 7.     At approximately 0130 hours on

November 23, 2020, the F/V Emmy Rose’s Emergency Position Indicating Radio


3       Even though each seaman is deceased and is appearing in court in various capacities, to
simplify the language of this opinion, the Court refers to each claimant by the name of the deceased,
rather than the personal representatives of the respective estates or the legal representatives of their
children.

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Beacon (EPIRB) emitted an emergency ping in the Atlantic Ocean approximately 27

nautical miles northeast of Provincetown, Massachusetts. Id. ¶ 8. According to the

National Oceanic and Atmospheric Administration Buoy Number 44018, the buoy

closest to the EPIRB signal, weather conditions at the time of the signal were: air

temperature of 48.2 degrees Fahrenheit, water temperature of 50.5 degrees

Fahrenheit, winds of 20 knots, gusting to 26 knots, and seas of 4.6 to 5.4 feet. Id. ¶

9. The USCG recorded on-scene winds at 30 knots with seas running 6-8 feet. Id.

The Vessel had survival suits for the crew members and a life raft with hydrostatic

release on board. Id. ¶ 25. The cause of the sinking remains under investigation by

the USCG and National Transportation Safety Board and is otherwise unknown. Id.

¶ 10.

        For each decedent with minor children, their minor children have cognizable

claims. Under Maine law, parents have a duty to support their minor children. 19-

A M.R.S. § 2005. Mr. Ward had two minor children, ages 6 and 3 years at the time

of his death. Joint Stip. ¶ 18. Mr. Blethen had two minor children, ages 14 and 5

years at the time of his death. Blethen Mem. at 1-2. Mr. Porper had two minor

children, ages 14 and 2 years at the time of his death. Joint Stip. ¶ 19. Mr. Matthews

had no minor children. Id. ¶ 16.

        B.    Alan Steinman, M.D., M.P.H.’s Opinions

        The parties provided Dr. Alan Steinman’s expert opinion concerning the range

of circumstances that most likely occurred to Captain Blethen and Seamen

Matthews, Porper, and Ward leading to their deaths. Joint Stip., Attach. 1, Letter of



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Alan M. Steinman, M.D., M.P.H. to R. Terrance Duddy, Esq. (Jul. 29, 2021)

(Steinman Report). Dr. Steinman addresses how the human body would have reacted

to different scenarios, starting with rapid drowning and ending with drowning after

donning a survival suit. Steinman Report at 7-10. Dr. Steinman’s letter makes

painful reading. In Attorney Latti’s memorandum in support of the claims of the

Estate of Ethan Ward, she accurately writes that “Dr. Steinman’s description of what

the crewmembers endured physically and emotionally haunts the reader.” Ward

Mem. at 4.

        Other than the inescapable inference that each man drowned, there is no direct

evidence as to how he drowned. Thus, there is no basis for the Court to find that one

man outlived another or that one man died more or less painfully than another. This

leads to the conclusion that the Court’s awards for conscious pain and suffering must

be equal. 4

        The other compelled inference is that each man died an unspeakably tragic

and terrible death, each likely aware of his impending death while struggling to

survive in a dark, cold, and angry ocean. Dr. Steinman does not address the conscious

pain and suffering that the crew must have experienced as the F/V Emmy Rose ran

into trouble and as the crew struggled to maintain the loaded vessel’s equilibrium in

the face of heavy seas and high winds. Again, there is no evidence about how the




4       There is some evidence that if the men did not die quickly, each man’s survival time would
have depended on his age, height, and weight. Steinman Report at 9. But there is no foundational
basis for the Court to make any findings about how long one individual survived as opposed to another.
For any individual, it is just as likely that he died shortly after hitting the water as that he donned a
survival suit and lived for a few days after the Vessel went down.

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Vessel went down and it is possible that it sank suddenly and without warning, but

it is more likely that there was some period of panic as the seamen worked in horrific

conditions to avoid its and their awful demise.

      C.     Ethan Ward

             1.     As a Person and Father

      Ethan Ward was twenty-three years old when he died at sea. Ward Mem. at

2. Though Mr. Ward never married, he was the father of two young children, ages 6

years and 3 years at his death. Id. He was about 5’ 11” tall, weighed about 180-200

pounds, and was in good health. Id. Mr. Ward was born in Portland, Maine in 1997.

Id., Attach. 2, Ex. B Certificate of Live Birth. At age 18, Mr. Ward graduated from

the Wayfinder School in New Gloucester, Maine. Id., Attach. 10, Ex. J Aff. of Jennifer

Ward ¶ 5 (Ward Aff.). After high school, Mr. Ward worked odd jobs ranging from

harvesting wood to construction. Ward Aff. ¶ 6. About a year after high school, Mr.

Ward started working on fishing and lobster boats and in the summer of 2020, he was

hired as a crew member on the F/V Emmy Rose. Id. ¶ 7. Mr. Ward’s mother says

that he “loved working on fishing boats and his goal was to continue working as a

crew member on fishing boats and to eventually become Captain.” Id. Mr. Ward had

two children, N.P.W. with Danica Perry and A.W. with Ashley Pepin. Id. ¶ 8. Both

children lived nearby Mr. Ward and Ms. Ward describes her son as a “loving and

caring father to his children.” Id. ¶ 9.

             2.     Child Support for N.P.W. and A.W.




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       In furtherance of his claim for child support for his two minor children, N.P.W.

and A.W., Mr. Ward acknowledges that the Court must “examine the loss of earning

capacity of the Decedent Ward.” Ward Mem. at 5. Mr. Ward confirms that he had

been working on F/V Emmy Rose for three months before his death, making a total

of seven trips, earning a total of $14,717.71. Id. Mr. Ward extrapolated these

earnings into annual earnings of $58,000 and, using that figure, his economic expert,

Dr. Sebastian Lobe, projected his earnings until each of his children reach the age of

eighteen. Id.

       Dr. Lobe first assumed that Mr. Ward would have worked yearly (from

September 2020 until August 2021 over 166 days and up to 262 days). Id., Attach. 9,

Ex. I Economic Report on the Value of Basic Child Support Obligations (Sept. 24,

2021) at 2 (Lobe Report). At Attorney Latti’s request, Dr. Lobe projected five scenarios

of the children’s parents’ combined annual gross income 5 from $35,000 to $55,000 in

$5,000 increments. Lobe Report at 2. Applying assumed inflation and reducing the

amounts to present value, Mr. Ward requests an award between $86,134 to $121,226

for N.P.W. and between $112,035 to $157,679 for A.W. Id. at 8.

       D.      Robert Blethen

               1.     As a Person and Father

       Born in 1979, Robert W. Blethen, Jr. was a captain and commercial fisherman,

who fished out of Portland, Maine and Gloucester, Massachusetts for twenty years

before his death on November 23, 2020. Blethen Mem. at 1; id., Attach. 1, Ex. A Aff.


5       Dr. Lobe points out that the Maine Schedule of Basic Child Support Obligations is based on
the parents’ combined annual gross income. Lobe Report at 7.

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of Ann Preble ¶ 2 (Preble Aff.). Mr. Blethen left behind an adult daughter, Taitum-

Lynn Rice, and two minor children, H.B. and J.B. 6 Blethen Mem. at 1. Unfortunately,

Mr. Blethen and his daughter H.B., who was fourteen at his death, were estranged.

Id. at 2. They had not spoken for at least five years prior to Mr. Blethen’s death and

Mr. Blethen provided H.B. with no financial support.                      Id. H.B.’s mother never

pursued child support for H.B. from Mr. Blethen and no child support order was ever

entered against him for her support. Id.

        Mr. Blethen began a romantic relationship with Ann Preble in 2009 and they

were engaged to be married in 2012. Id. at 1. They produced a son, J.B., who was

five years old at the time of the sinking. Id. Mr. Blethen was a doting father to J.B.,

an active participant in all aspects of his life, and a consistent financial supporter of

his son’s needs. Id. at 2. When Mr. Blethen was not fishing, he was constantly with

J.B. Preble Aff. ¶ 9.

                2.      Child Support for J.B. 7

        In furtherance of his claim for child support for his minor child, J.B., Mr.

Blethen relied on his last six years of income. Blethen Mem. at 3. His economic

expert, Dr. Neville S. Lee, arrived at an annual gross income figure of $70,000. Id.

Dr. Lee calculates that Mr. Blethen would have earned a net total of $503,000 during

the years that J.B. remained a minor. Id. Using the Maine Schedule of Basic Child



6        The Joint Stipulation says that J.B. was “2 years, 5 months” at the time of the sinking. Joint
Stip. ¶ 17. This is in error. See Preble Aff. ¶ 8; Blethen Mem., Attach. 1, Ex. E Certificate of Live Birth
of [J.B.]. The Court uses 5 years and 4 months as J.B.’s age as of November 23, 2020 as confirmed by
his birth certificate.
7        For reasons explained later, the Court concluded that H.B. is not entitled to a claim of minor
support or loss of nurture and the Court is therefore addressing only J.B.’s claim for child support.

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Support Obligations, Mr. Blethen’s gross annual salary of $70,000 would have been

assessed at $212 per week or $9,600 per year, which projected over J.B.’s

approximately 12.5 years of remaining minority yields a total pecuniary loss to J.B.

of $120,000. Id. at 3-4. However, at the Court’s request, on December 29, 2021, Mr.

Blethen submitted a supplemental report from Dr. Lee, reducing this figure to its

present value. Loss of Support for the Blethen Children (ECF No. 64). According to

Dr. Lee, the present value of the loss of support for J.B. is $110,434. Id. at 2.

      E.     Michael Porper

             1.     As a Person and Father

      Michael Porper was thirty-eight years old when he died at sea on November

23, 2020. Porper Mem., Attach. 5, Ex. E The Probable Economic Loss in the Event of

the Wrongful Death of Mr. Michael Porper, Jr. (Aug. 17, 2021) at 3 (Porper Lee Report).

Mr. Porper lived in North Berwick, Maine and fished most often out of Portland,

Maine and several times out of Gloucester, Massachusetts. Porper Mem. at 1-2.

      Mr. Porper had two minor daughters, M.P. and G.P. Id. at 1. He was an active

participant in the lives of both his daughters. Id. at 3. M.P., who was fourteen years

old at her father’s death, lived in Massachusetts; G.P., who was two years old, lived

with him and his fiancée Ashley Gross. Id. at 1-3. There was an active support order

against Mr. Porper in which he was required to pay $80 per week to Holly O’Connor,

the mother of M.P. Id. at 3. Mr. Porper was also subject to a December 31, 2019

court order, requiring him to pay $27,185.67 in child support arrearages to Ms.

O’Connor. Id.



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             2.     Child Support for M.P. and G.P.

      In furtherance of his claim for child support for his two minor children, M.P.

and G.P., Mr. Porper relied on his last six years of income. Porper Lee Report at 3.

Mr. Porper had a reported income of $22,481 in 2020 or $25,093 on a full-year basis.

Id. at 4. Mr. Porper takes the amount that he was legally required to pay annually

for child support for M.P., $4,180, and multiplies that figure by the 8.5 years until

her emancipation for a total of $66,225.67, to which he added the $27,185.67 owed in

arrearages. Porper Mem. at 8. As to G.P., using the Maine Schedule of Basic Child

Support Obligations, Mr. Porper’s gross annual salary would have been assessed at

$5,980 per year, which projected over G.P.’s 15.5 years of remaining minority yields

a total pecuniary loss to G.P. of $92,690. Id. At the Court’s request, on December 30,

2021, Mr. Porper submitted a supplemental report from Dr. Lee, reducing these

figures to their present value. Pl.’s, Ashley Gross as the Representative of the Estate

of Michael J. Porper, Jr., Suppl. to Consent J. Hr’g Mem. Pursuant to the Ct.’s Order

to Suppl., Doc. 63 (ECF No. 65), Attach. 1, Estate of Porper Consent J. Mem (Dec. 28,

2021). According to Dr. Lee, the present value of the loss of support is $60,599 for

M.P. and $82,881 for G.P. Id. at 2.

      F.     Jeffrey Matthews

      “The person suffers most who has the most to lose.          In the case of Jeff

Matthews, Sr., there was much that he had to live for and therefore much that he

had to lose.” Matthews Mem. at 7. Jeffrey Matthews was 55 when he died at sea on

November 23, 2020. Id., Attach. 3, Obituary: Jeffrey Matthews at 1. His obituary



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describes a man who was “above all things . . . a family man.” Id. Mr. Matthews

spent over thirty-five years as a commercial fisherman and fishing was “his life and

soul.” Id. He was a “hard-working, old-school fisherman.” Id. When not at sea, he

was “surrounded by his family,” which included his three children, all adults: Racquel

Matthews, Jeff Matthews, and Reyann Matthews. Id. He was also survived by his

mother, Sandra Schiefer, siblings, and three grandchildren, A.J., Alexis, and

Camden. Id.

IV.     DISCUSSION

        A.      The Interrelationship of the Claims

        The two categories of damages have different repercussions. The surviving

tort claim is a claim by the decedent’s estate and its distribution will be in accordance

with the law of intestacy. 8 Under 18-C M.R.S. § 2-103(1)(A), where there is no

surviving spouse, the “entire intestate estate” passes first to “the decedent’s

descendants per capita at each generation.” As none of the decedents was married at

his death, each child, whether adult or minor, of each estate would receive the same

share. 9

        The pecuniary loss claims, both for lost child support and for nurture and

guidance, are claims only on behalf of the decedents’ minor children and for losses

during their minority. As the insurance proceeds are limited to $960,000, the greater



8        The parties have not mentioned that any of the decedents had a will and the Court assumes
there were none and that intestacy law controls. See 18-C M.R.S. § 2-103 (“[T]he entire intestate estate
if there is no surviving spouse, passes in the following order . . ..”) (emphasis supplied). Whether the
decedents were testate or intestate does not affect this Court’s ruling.
9        This does not mean that each child across the claimants would receive the same amount
because the intestacy law requires a per capita distribution.

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the award for pain and suffering to the estates, the more available to all children,

adult and minor, and the less available to the minor children alone, and the converse

is true, the less the pain and suffering award, the more available to the minor

children. Finally, three of the decedents had minor children; Mr. Matthews did not.

Unique among the four decedents, therefore, his claim is restricted to an award for

conscious pain and suffering to be divided among his adult children.

      B.     Equitable Distribution

      In Uncle Sam, the United States District Judge faced a situation much like

this case, where the total damages vastly exceeded the available insurance coverage.

928 F. Supp. at 65-66 (discussing equitable proration of limited funds). To be fair to

all claimants in Uncle Sam, the District Judge “ordered an equitable allocation of the

available funds among the four estates, taking into account the survivors’ respective

pecuniary losses, as well as the pain and suffering of the decedents before their

deaths.” Curcuru v. Rose’s Oil Serv., 66 Mass. App. Ct. 200, 202, 846 N.E.2d 401

(Mass. App. Ct. 2006).

      In this Order, this Court attempted to make an equitable distribution, aware

that the claimants’ total damages substantially exceed the available insurance

coverage. In making the conscious pain and suffering awards, the Court considered

that Congress has expressed a policy that the seamen’s estates should be properly

compensated for conscious pain and suffering leading to their deaths. At the same

time, the Court has taken into account that Congress also recognized that seamen’s

minor children are especially vulnerable because they have lost their parents’



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financial support and, unlike adult children, are incapable of replacing that pecuniary

support on their own.    The Court has considered both underlying congressional

policies.

       C.     Conscious Pain and Suffering Award

       The claimants take different positions concerning the amount the Court should

award for conscious pain and suffering. Mr. Ward urges an award of $500,000. Ward

Mem. at 4. Mr. Blethen does not suggest a figure, only that his estate should be

awarded an equal amount to the other estates. Blethen Mem. at 4-5. Mr. Porper

suggests an award of $259,168. Porper Mem. at 12. Mr. Matthews suggests an award

of $200,000. Matthews Mem. at 8.

       Each of these proposed awards is defensible. However, an award as high as

$500,000 for each seaman would drive down the awards available to the minor

children for loss of support and nurture. The Court acknowledges that in making an

award to an estate, the proceeds will go to the decedent’s children, both adult and

minor, and in making an equitable division, the Court is cognizant that each of the

adult children has lost a father and deserves compensation under the law. At the

same time, as just discussed, Congress has provided a special claim for the minor

children against the available proceeds presumably because they cannot fend for

themselves.

       In a situation where the available assets exceeded the combined awards, the

tension between the awards for the estates and the awards for the minor children

would not matter, but here, the available insurance proceeds are finite and there is a



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direct relationship between the awards for conscious pain and suffering and the net

amounts available for pecuniary loss. The Court calculated different conscious pain

and suffering awards to assess their impact on the money available to the minor

children. Balancing all these considerations, the Court awards the following for

conscious pain and suffering to each estate:

      1) Estate of Ethan Ward: $200,000;

      2) Estate of Robert Blethen: $200,000;

      3) Estate of Michael Porper: $200,000;

      4) Estate of Jeffrey Matthews: $200,000.

      D.     Child Support

      Although both Maine and Massachusetts allow a support obligation to persist

beyond age eighteen if certain conditions are met, for purposes of this Order, the

Court finds that the support obligations of Mr. Blethen, Mr. Porper, and Mr. Ward

would have terminated when each child reached the age of eighteen. Even though it

is statistically possible that their support obligations could have extended longer

under Maine and particularly under Massachusetts law, to conclude that any of these

men would have been required to pay child support beyond the age of eighteen is too

speculative on this record to justify an award beyond each child’s date of majority.

      Each of the parties with minor children supplied present value estimates of

their future losses based on the state of Maine’s child support schedules. For some

claimants, there is evidence they might have made child support payments exceeding

the Maine schedules and, by the same token, as Mr. Matthews points out in his reply,



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there are unanswered questions about other factors, such as the mother’s income, the

payment of health insurance, and other government support. Matthews Reply at 2-

5.

      In an effort to equitably distribute limited funds, the Court relied upon the

Maine schedules to fix the present value of the decedents’ respective child support

obligations. To do otherwise would require more extensive factfinding than the record

allows, and the Court concludes this is the fairest approach across the families of the

three claimants with minor children. See Harmsen v. Smith, 693 F.2d 932, 945 (9th

Cir. 1982) (“Although damages need not be proved to a mathematical certainty,

‘sufficient facts must be introduced so that a court can arrive at an intelligent

estimate without speculation or conjecture’”) (quoting Rochez Bros. v. Rhoades, 527

F.2d 891, 895 (3d Cir. 1975)).

      In his memorandum, Mr. Blethen concedes that he and H.B. were “estranged

at the time of [his] death and had not spoken for at least five years prior to [his]

death.”   Blethen Mem. at 2.     “During this time, Blethen provided H.B. with no

financial support.” Id. “H.B.’s mother never pursued child support from Blethen for

H.B., and no child support order was ever entered against Blethen regarding H.B.”

Id.

      In these circumstances, even though the result is harsh for H.B., the Court

must conclude that H.B. is not entitled to a loss of support award because there is no

evidence in this record that Mr. Blethen would have supported H.B. had he lived.

Recovery under DOHSA for loss of support “includes all the financial contributions



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that the decedent would have made to his dependents had he lived.” Sea-Land Servs.,

Inc., 414 U.S. at 584-85. Thus, “recovery for loss of support requires some showing of

dependence on the deceased or an expectation of support.” Bergen v. F/V St. Patrick,

816 F.2d 1345, 1350 (9th Cir. 1987). “The measure of recovery under Section 2 of

DOHSA is the actual pecuniary benefits that the decedent’s beneficiaries could

reasonably have expected to receive from the continued life of the decedent.” Solomon

v. Warren, 540 F.2d 777, 786 (5th Cir. 1976). As there is no evidence in this record

that Mr. Blethen would have supported a daughter he had not spoken to and not

supported for five years, the Court excluded H.B. from its loss of support calculations.

      The same does not apply to Mr. Porper’s now fifteen-year-old daughter, M.P.

Mr. Porper had two daughters with two different mothers. Unlike Mr. Blethen’s

relationship with H.B., according to M.P.’s mother, Mr. Porper was “an involved and

attentive father to our daughter, M.P.” Porper Mem., Attach. 8, Aff. of Holly O’Connor

¶ 7. It is true that Mr. Porper had failed to pay ordered child support for M.P.;

however, the record reveals that Ms. O’Connor was pressing in Massachusetts court

for payment of his arrears and on December 31, 2019, a Massachusetts court had held

Mr. Porper in contempt for his failure to maintain child support for M.P. Id., Attach.

8, Ex. E Commonwealth of Mass., The Trial Ct., Probate and Family Ct. Compl. for

Contempt (Dec. 31, 2019). Indeed, on October 21, 2020, the Massachusetts Court held

a conference and Mr. Porper failed to attend. Id. The Massachusetts Court ordered

a capias to issue. Id. Based on the contents of this Order and Mr. Porper’s continuing

relationship with M.P., this Court concludes that M.P. had a “reasonable expectation



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of support” from Mr. Porper sufficient for an award under DOHSA. Bergen, 816 F.2d

at 1350. To rule otherwise would be to act in derogation of the Massachusetts Court’s

order and to allow Mr. Porper to flout in death what he judicially owed but did not

pay in life.

       By contrast, the Court does not accept Mr. Porper’s assertion that the Court

should include his child support arrearages, in the amount of $27,185.67, in its award

for child support for M.P.      In Mr. Porper’s memorandum, he described the

Massachusetts Court order dated December 31, 2019, holding him in contempt and

ordering the payment of $27,185.67. Porper Mem. at 3. Mr. Porper’s child support

demand for M.P. included this $27,185.67 arrearage figure plus $3,680 in additional

arrearages incurred between December 2019 and November 23, 2020. Id. at 8 (“Since

November 23, 2020 (the date of presumed death), Mr. Porper would have been

obligated to pay an additional eight years, six months of support at $4,180/year,

totaling $35,360 through the age of his eldest daughter’s emancipation. This child

support number does not include the $27,185.67 in arrears through December of

2019, nor the $80 per week between December of 2019 and November 23, 2020 (46

weeks) totaling $3680, nor health insurance, nor any household services, nor tuition

for post-high school education, nor miscellaneous support such as clothing, birthday

gifts, Christmas gifts, etc. On child support alone, M.P. has sustained damages in

the amount of $66,225.67”) (bold type in original). Dr. Lee recalculated the present

value of the $66,225.67 to equal $60,599, but unfortunately, Dr. Lee’s supplemental




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calculation of the present value of the child support claim for M.P. embedded the

$30,865.67 arrearage figure in the total present value of $60,599.

      In Mr. Ward’s reply brief, he objected to the inclusion of child support liens as

a part of Mr. Porper’s child support claim in this case, asserting that “[c]hild support

liens are a debt of the Estate and should not be calculated in allocating the insurance

proceeds to each Estate.” Ward Reply at 1.

      Neither Mr. Porper nor Mr. Ward cites any authority for their conflicting legal

positions. Despite the lack of guidance, the Court concludes that Mr. Ward’s position

is sounder. The Court bases its conclusion on the premise of an action for damages

under DOHSA, namely that the survivors are entitled to pecuniary loss caused by the

death. Uncle Sam, 928 F. Supp. at 66 (“Under both the Jones Act and the [DOHSA],

recoverable damages are limited to (1) an award for the conscious pain and suffering

of the decedent before his death, and actual pecuniary loss of the survivors as a result

of his death”) (emphasis in original). As the child support arrearages that Mr. Porper

owed M.P. before his death were not “actual pecuniary loss . . . as a result of his

death,” the Court concludes they are not a proper measure of child support damages

under DOHSA.

      This leaves a net future child support figure under DOHSA for M.P. of

$29,733.33 ($60,599 - $30,865.67). As the Court subtracted the $30,865.67 from the

present value figure of $60,599, if there is a difference between the present value

figure calculated by Dr. Lee and the net awardable figure, it would seem de minimis.




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      Based on these principles, the Court awards the following amounts for loss of

support:

      1) N.P.W: $86,134;

      2) A.W.: $112,035;

      3) J.B.: $110,434;

      4) G.P.: $82,881;

      5) M.P.: $29,733.

      E.     Loss of Nurture

      Like loss of support, a child’s loss of nurture is compensable under DOHSA.

Sea-Land Servs., 414 U.S. at 585. “It is important to emphasize, however, that a

child’s claim for loss of nurture is limited to the pecuniary value of the services the

deceased parent would have provided and cannot include damages for the emotional

loss of growing up without a father.” Brown v. United States, 615 F. Supp. 391, 400

(D. Mass. 1985). “Under DOHSA, however, the wrongful death of a parent standing

alone is an insufficient predicate to support recovery by a child of the loss of parental

nurture, and in order to recover this item of damages the evidence must show that

the deceased parent was fit to furnish such training and that training and guidance

had actually been rendered by the parent during his or her lifetime to their children.”

Solomon, 540 F.2d at 788. Although the First Circuit has not spoken directly on this

issue, the Second Circuit listed the factors to be considered, including “the age,

character, earning capacity, health, intelligence, and life expectancy of the decedent.

. . as well as the degree of dependency of the distributees upon the decedent and the



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probable benefits they would have received but for the untimely death.” McKee v.

Colt Electronics Co., 849 F.2d 46, 52 (2d Cir. 1988). Although there is no bar to a loss

of nurture award for an adult child, “courts reviewing jury awards for loss of parental

guidance have generally reduced awards to adult children to a fraction of the amount

recoverable by infant children.” Mono v. Peter Pan Bus Lines, 13 F. Supp. 2d 471,

477 (S.D.N.Y. 1998); see Solomon, 540 F.2d at 789-90.

      Courts have frequently awarded sums equal to $5,000 to $15,000 per year for

loss of nurture. See In re Moran Towing Corp., 984 F. Supp. 2d 150, 187 (S.D.N.Y.

2013) (collecting cases). In performing this analysis, it is proper to consider “the

frequent absences that [the decedent’s] occupation as a fisherman would have

necessitated.” Brown, 615 F. Supp. at 400.

      Here, Mr. Ward requested that the Court award his children between $12,000

and $22,000 annually until they reach the age of 21. Ward Mem. at 9. The Court

declines to do so. In Zilko v. Golden Alaska Seafoods, Inc., 123 Wash. App. 1020, at

*29 (Wash. Ct. App. 2004), the appeals court noted that to sustain an award beyond

the age of 18, the claimants would have to present “specific facts or circumstances

that justified extending the loss of nurture damages beyond age 18.” Here, the

claimants have not pointed to any evidence that would provide a rationale for an

award for nurture beyond each child’s age of majority. See 1 M.R.S. § 73 (“The

common law rule that a person is a minor to the age of 20 is abrogated and persons

18 years of age or over are declared to be of majority for all purposes”); MASS. GEN.

LAWS ch. 4, § 7 (“Forty-eighth, ‘Minor’ shall mean any person under eighteen years of



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age”); see Brown, 615 F. Supp. at 400 (limiting the nurture award to last “until [the

child] attains the age of 18”).

       For the same reasons the Court discussed regarding child support, the Court

declines to award H.B. an amount for loss of nurture. Mr. Blethen’s argument is that

“although [H.B.] had been estranged from her father for a number of years, the death

of one’s biological father as a teenager is an inherently traumatic event.” Blethen

Mem. at 4. “H.B. has further suffered the loss of the opportunity to reconnect and

build a stronger relationship with her father.” Id. The Court accepts these asserted

facts as true, but a nurture award is a pecuniary award, not an award for loss of

society.   Brown, 615 F. Supp. at 400 (“loss of society is not recoverable under

DOHSA”). There is no evidence in this record that allows the Court to conclude that

it is more likely than not that Mr. Blethen would have furnished training and

guidance to H.B. for the rest of her minority.

       For each child, except H.B., the Court awards $5,000 per year for loss of

nurture, up until they turn eighteen. 10 This results in the following loss of nurture

awards:

       1) NPW: 12 years at $5,000 per year = $60,000;

       2) AW: 15 years at $5,000 per year = $75,000;

       3) J.B.: 13 years at $5,000 per year = $65,000;

       4) G.P.: 16 years at $5,000 per year = $80,000;


10      The Court acknowledges that these figures are not reduced to present value. But given the
unique posture of this case, where there is a limited amount of available insurance, the record allows
the Court to apply the same standard among all the minor children and a reduction to present value
of these figures would not have a significant impact on the ultimate allocation.

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      5) M.P.: 4 years at $5,000 per year = $20,000.

      F.       Funeral Expenses

      One potential element of pecuniary loss under DOSHA is funeral expenses. In

re Adventure Bound Sports, 858 F. Supp. at 1197. Only Mr. Porper has made a claim

for funeral expenses. Porper Mem. at 9-10. Mr. Porper proposes that the Court issue

a funeral expense award, not based on his funeral, but on the average cost of a funeral

in Massachusetts and Maine. Id. On this basis, he seeks $10,000. Id. One of the

tragedies of the sinking of the F/V Emmy Rose, however, is that the bodies of the four

men were never found. Joint Stip. ¶ 12 (“The USCG issued a Presumption of Death

letter for each of the four men aboard the Vessel, identifying November 23, 2020 as

the date of death”). Therefore, there is no basis to apply a traditional funeral service

expense to the tragic circumstances of Mr. Porper’s death.

      Alternatively, Mr. Porper’s fiancée Ashley Gross attended a group service in

Portland, Maine and she submitted out of pocket expenses in the amount of $597.40

that she incurred for flowers and lodging to attend that service. Porper Mem., Attach.

4, Ex. D. In Sea-Land, the United States Supreme Court wrote that “funeral expenses

are compensable.” 414 U.S. at 591; but see Barbe v. Drummond, 507 F.2d 794, 801-

02 (1st Cir. 1974) (finding that funeral expenses are not a recoverable pecuniary loss

under DOHSA if paid by the decedent’s estate rather than by the decedent’s

dependents).

      As In re Adventure Bound Sports observed, funeral expenses traditionally

represent such items as the payment for a “funeral service, funeral plot, and burial.”



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858 F. Supp. at 1202. Flowers at a funeral are reasonably deemed a funeral service

expense. See Smith v. Bauknecht, 2011 Ohio 4046, ¶ 20, 2011 Ohio App. LEXIS 3391,

at *4-5 (Ct. of App. Ohio, Sixth App. Dist., Lucas Cnty. Aug. 12, 2011) (concluding

that under Ohio law the provision of funeral flowers is a necessary funeral expense).

But the Court is skeptical that the concept of funeral expenses can be stretched to

include lodging for family members to attend the funeral. Mr. Porper has not cited

any caselaw that extends the reach of funeral service expenses to cover the lodging

expenses of the attendees. Accordingly, the Court allows $156 11 for flowers but not

$441.22 for people to stay at a hotel to attend the funeral service.

       In his memorandum, Mr. Porper mentions that Ms. Gross and his counsel have

continued to work with municipal representatives of the city of Gloucester,

Massachusetts and private partners to include his name on Gloucester’s famous

memorial to “They that go down to the sea in ships,” also known as “The Man at the

Wheel” or “The Fisherman’s Statue.”              Porper Mem. at 5.        Mr. Porper does not,

however, provide the cost, if any, of this inclusion and of a related future private

memorial service and does not contend that the inclusion may be considered a funeral

expense.

       G.      Total Awards

       Based on these principles, the Court awards the following damages to the

Estates for conscious pain and suffering:

       1) Ethan Ward: $200,000;


11      For ease of calculation, for any figure calculated to the cent, the Court rounded down to the
nearest dollar.

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      2) Robert Blethen: $200,000;

      3) Michael Porper; $200,000;

      4) Jeffrey Matthews: $200,000

      5) Total conscious pain and suffering award: $800,000.

      The Court also awards the following damages to the dependent minor children

for pecuniary loss, child support, and loss of nurture:

      1) N.P.W: $86,134 + $60,000 = $146,134;

      2) A.W.: $112,035 + $75,000 = $187,035;

      3) J.B.: $110,434 + $65,000 = $175,434;

      4) G.P.: $82,881 + $80,000 = $162,881;

      5) M.P.: $29,733 + $20,000 = $49,733:

      6) Total of all pecuniary loss awards except funeral expenses: $721,217

      Finally, the Court awards Ashley Gross $156 for funeral expenses.

V.    ALLOCATION OF AWARDS

      To arrive at the final allocation, the Court has calculated the total amount of

the awards and has reduced each award by the percentage the available insurance

coverage of $960,000 represents to the full amount of the awards. Here, the total

amount of all the awards equals:

      1) Conscious pain and suffering awards: $800,000;

      2) Pecuniary Loss, including funeral expenses: $721,373;

      3) Total awards: $1,521,373

      4) Percentage of available coverage against the total award:



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         $960,000 ÷ $1,521,373 = 63.1%.

Applying this percentage to the individual awards, the Court arrives at the following:

      A. Conscious Pain and Suffering: $504,800

         1) Ethan Ward: $200,000 x 63.1% = $126,200;

         2) Robert Blethen: $200,000 x 63.1% = $126,200;

         3) Michael Porper; $200,000 x 63.1% = $126,200;

         4) Jeffrey Matthews: $200,000 x 63.1% = $126,200.

      B. Loss of Support: $265,785

         1) N.P.W: $86,134 x 63.1% = $54,350;

         2) A.W.: $112,035 x 63.1% = $70,694;

         3) J.B.: $110,434 x 63.1% = $69,683;

         4) G.P.: $82,881 x 63.1% = $52,297;

         5) M.P.: $29,733 x 63,1% = $18,761.

      C. Loss of Nurture: $189,300

         1) N.P.W: $60,000 x 63.1% = $37,860;

         2) A.W.: $75,000 x 63.1% = $47,325;

         3) J.B.: $65,000 x 63.1% = $41,015;

         4) G.P.: $80,000 x 63.1% = $50,480;

         5) M.P.: $20,000 x 63.1% = $12,620.

      D. Funeral Expense: $98

         1) Ashley Gross: $156 x 63.1% = $98.

This results in the following total net awards by category:



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      A. Conscious Pain & Suffering: $504,800

      B. Loss of Support:              $265,785

      C. Loss of Nurture:              $189,300

      D. Funeral Expense:              $        98

      E. Total:                        $959,983

To reach the total amount of available insurance coverage of $960,000, the Court

distributed the remaining seventeen dollars equally to each category with the extra

three dollars going to funeral expenses as follows:

      E. Conscious Pain and Suffering: $504,804

         1) Ethan Ward: $200,000 x 63.1% + $1 = $126,201;

         2) Robert Blethen: $200,000 x 63.1% + $1 = $126,201;

         3) Michael Porper; $200,000 x 63.1% + $1 = $126,201;

         4) Jeffrey Matthews: $200,000 x 63.1% + $1 = $126,201.

      F. Loss of Support: $265,790

         1) N.P.W: $86,134 x 63.1% + $1 = $54,351;

         2) A.W.: $112,035 x 63.1% + $1 = $70,695;

         3) J.B.: $110,434 x 63.1% + $1 = $69,684;

         4) G.P.: $82,881 x 63.1% + $1 = $52,298;

         5) M.P.: $29,733 x 63,1% + $1 = $18,762.

      D) Loss of Nurture: $189,305

         1) NPW: $60,000 x 63.1% + $1 = $37,861;

         2) AW: $75,000 x 63.1% + $1 = $47,327;



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           3) J.B.: $65,000 x 63.1% + $1 = $41,016;

           4) G.P.: $80,000 x 63.1% + $1 = $50,481;

           5) M.P.: $20,000 x 63.1% + $1 = $12,621.

      D. Funeral Expense: $98

           5) Ashley Gross: $156 x 63.1% = $98 + $3 = $101.

This results in the following final total net awards by category:

      F. Conscious Pain & Suffering: $504,804

      G. Loss of Support:               $265,790

      H. Loss of Nurture:               $189,305

      I. Funeral Expense:               $        101

      Total:                            $960,000

VI.   CAPPING AWARD,              THIRD-PARTY          ACTIONS,     AND     MINOR
      APPROVAL

      A.       Capping Award

      The parties entered into a stipulation whereby in exchange for BAM’s

acquiescence, the claimants have agreed to accept the insurance proceeds in exchange

for an order releasing Boat Aaron & Melissa, Inc. and its officers, directors,

employees, and agents from further liability. Joint Stip. ¶¶ 21-22. Pursuant to the

stipulation of the parties, the Court ORDERS:

      The Consent Judgment shall be entered capping Boat Aaron & Melissa, Inc.,

its officers, directors, employees, and agents, including but not limited to Bartley

McNeel and Newbold Rink Varian III, liability to the value of the available insurance

proceeds and nothing more. The express representations that there is no additional

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insurance coverage on the Vessel beyond the $1,000,000 draw down policy made by

Boat Aaron & Melissa, Inc. in its affidavit of Newbold Rink and Bartley McNeel, 12

dated October 7, 2021, are material terms of the settlement relied upon by the

Defendants. That is to say that the Defendants in this Limitations Action would not

have collectively agreed to resolve the matter for the remaining amount in the draw

down policy if more insurance coverage had been available. The parties agree that

this settlement and consent judgment include the relinquishment of rights to pursue

any other assets of Boat Aaron & Melissa, Inc. and its officers, directors, employees,

and agents including but not limited to Bartley McNeel and Newbold Rink Varian

III.

        B.      Third-Party Actions

        The Court further ORDERS that this Consent Judgment extends only to the

parties to the judgment. The Court acknowledges that the amounts awarded for

conscious pain and suffering to the estates of each of the decedents do not make any

of these estates whole and the Court has exercised its equitable discretion in fixing

the conscious pain and suffering damages to allocate among the categories of damage

in light of the limited insurance coverage. Specifically, this Consent Judgment does

not affect the estates’ and the minor children’s rights to pursue any other responsible

party for additional damages.

        C.      Minor Approval




12     In its second reference to Mr. McNeel, the Stipulation spells his first name, Barley. Joint Stip.
¶ 22. The Court has assumed that the first spelling of Bartley is correct.

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      The parties acknowledge that as it affects minors, the terms of this Consent

Judgment must be approved by the Court pursuant to District of Maine Local Rule

41.2. The Court directs the applicable attorneys to expeditiously prepare and file

appropriate documents to meet the requirements of Local Rule 41.2.

      SO ORDERED.

                                      /s/ John A. Woodcock, Jr.
                                      JOHN A. WOODCOCK, JR.
                                      UNITED STATES DISTRICT JUDGE

Dated this 5th day of January, 2022




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